Case 1:21-cv-01588-CJN Document 29-3 Filed 03/15/24 Page 1 of 8




               Exhibit C
Case 1:21-cv-01588-CJN Document 29-3 Filed 03/15/24 Page 2 of 8
Case 1:21-cv-01588-CJN Document 29-3 Filed 03/15/24 Page 3 of 8
Case 1:21-cv-01588-CJN Document 29-3 Filed 03/15/24 Page 4 of 8
Case 1:21-cv-01588-CJN Document 29-3 Filed 03/15/24 Page 5 of 8
Case 1:21-cv-01588-CJN Document 29-3 Filed 03/15/24 Page 6 of 8
Case 1:21-cv-01588-CJN Document 29-3 Filed 03/15/24 Page 7 of 8
Case 1:21-cv-01588-CJN Document 29-3 Filed 03/15/24 Page 8 of 8
